Case: 1:17-md-02804-DAP Doc #: 1960 Filed: 07/23/19 1 of 4. PageID #: 138168




                             EXHIBIT 106
            Case: 1:17-md-02804-DAP Doc #: 1960 Filed: 07/23/19 2 of 4. PageID #: 138169




                      SOP#:    SOP- 8489
                      TITLE:   Suspicious Order Monitoring- DEA Order Holds - Locations Other Than New
                               Britain, PA and North Wales, PA


             1        PURPOSE

                      To specify procedures for reviewing, investigating and releasing DEA Order Holds for
                      controlled substances and the reporting of Suspicious Orders to the DEA.

             2.        SCOPE

                      These procedures apply to the following TEVA Pharmaceuticals personnel.

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                      I DEA Compliance & Diversion Operations      X       X        X        X       X      X      X      X


             3.        SUMMARY OF REVISIONS

                      n/a

             4.        REFERENCES

                       21 CFR 1301 74(b) states that "the registrant shall design and operate a system to disclose to
                       the registrant suspicious orders of controlled substances. The registrant shall inform the Field
                       Division Office of the Administration in his area of suspicious orders when discovered by the
                       registrant. Suspicious orders include orders of unusual size, orders deviating substantially
                       from a normal pattern, and orders of unusual frequency."


             5.        DEFINITIONS

                       DEA: Abbreviation for the Drug Enforcement Administration

                       SOM: Abbreviation for Suspicious Order Monitoring

                       SUSPICIOUS ORDERS: includes, but not limited to, orders of unusual size, orders
                       deviating substantially from a normal pattern, and orders of unusual frequency.
                                                                                                                    . . ----,
                                                                                                                         EXHIBIT
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                                                                                                                  Page 1 of 3




Highly Confidential                                                                                                  TEVA_MDL_A_03160173
            Case: 1:17-md-02804-DAP Doc #: 1960 Filed: 07/23/19 3 of 4. PageID #: 138170




                      SOP#:   SOP- 8489
                     TITLE.   Suspicious Order Monitoring - DEA Order Holds - Locations Other Than New
                              Britain, PA and North Wales, PA



             6.       PROCEDURE

             Responsibility         Action

             6.1                     Order Monitoring

             DEA Compliance
             6.1 1                  Transfers of product from these locations are exclusively intra-site, intra-
                                    company or to clinical or analytical testing labs. The locations specified
                                    within the scope of this SOP do not accept unsolicited purchase requests
                                    or orders for any controlled substance product from any customer location.
                                    Transfers are initiated by TEVA personnel in order to have products tested
                                    analytically or clinically, or for intra-site transfer for sale at other
                                    locations.




             6.1.2                   Due to the nature of the development business there are limited purchase
                                     orders or purchase requests to trend by size or frequency using traditional
                                     statistical systems. In the event that any of these locations were to receive
                                     an unsolicited order for a controlled substance from any existing or
                                     potential customer, all information about the attempted order will be given
                                     to TEVA SOM Manager or designee for further investigation.




             7.       ATTACHMENTS

                      Title 21, Code of Federal Regulations, Section 1301 74(b );




                                                                                                      Page 2 of3




Highly Confidential                                                                                     TEVA_MDL_A_03160174
            Case: 1:17-md-02804-DAP Doc #: 1960 Filed: 07/23/19 4 of 4. PageID #: 138171



                      SOP#:    SOP- 8489
                      TITLE.   Suspicious Order Monitoring- DEA Order Holds - Locations Other Than New
                               Britain, PA and North Wales, PA




                      Locations specified by this SOP accept unsolicited orders for controlled substances.

                      True

                      False

              2.      Transfers are initiated by TEVA personnel in order to have products tested analytically or
                      clinically, or for intra-site transfer for sale at other locations.

                      True

                      False

              3.      Unsolicited orders for controlled substances from any existing or potential customer will be
                      given to TEVA SOM Manager or designee for further investigation.

                      True

                      False




              Written/Revised         Jason Gardner/Joseph         Effective
              By:                     Tomkiewicz                   Date:                       10/1/15
              Annroved Bv:            Colleen McGinn               Revised Date:                NIA
              Approver
              Signature:



                                                                                                      Page 3 of 3




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